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                         IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE DISTRICT OF DELAWARE


    In re:                                                  Chapter 11

    AGSPRING, LLC, et al.,1                                 Case No. 23-bk-10699 (CTG)

              Debtors.                                      Jointly Administered


      ORDER PURSUANT TO SECTION 327(a) OF THE BANKRUPTCY CODE, RULE
      2014 OF THE FEDERAL RULES OF BANKRUPTCY PROCEDURE AND LOCAL
         RULE 2014-1 AUTHORIZING THE EMPLOYMENT AND RETENTION OF
                 DENTONS US LLP AS COUNSEL FOR THE DEBTORS
        AND DEBTORS IN POSSESSION EFFECTIVE AS OF THE PETITION DATE

             Upon the Application Pursuant to Section 327(a) of the Bankruptcy Code, Rule 2014 of the

Federal Rules of Bankruptcy Procedure and Local Rule 2014-1 for Authorization to Employ and

Retain Dentons US LLP as Counsel for the Debtors and Debtors in Possession Effective as of the

Petition Date (the “Application”) of the above-captioned debtors and debtors in possession (the

“Debtors”) seeking authorization to employ and retain Dentons US LLP (“Dentons US” or the

“Firm”) as counsel for the Debtors; and upon (i) the Statement Under Rule 2016 of the Federal

Rules of Bankruptcy Procedure (the “Statement”), (ii) the Maizel Declaration, and (iii) the Sturgeon

Declaration [Docket 3]; and the Court being satisfied, based on the representations made in the

Application, the Statement and the Maizel Declaration and the Sturgeon Declaration, that Dentons

US does not represent or hold any interest adverse to the Debtors or the Debtors’ estates with respect

to the matters upon which it is to be engaged, and is disinterested as that term is defined under

section 101(14) of the Bankruptcy Code, and as modified by section 1107(b) of the Bankruptcy


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 The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
number, are: Agspring, LLC (7735); Agspring Idaho 1 LLC (1720); Agspring Idaho LLC (8754); FO-ND LLC, dba
Firebrand Artisan Mills (1520); Agspring Logistics LLC, dba Agforce (6067); and Agspring Idaho 2 LLC (9262). The
Debtors’ mailing address is 5101 College Boulevard, Leawood, KS 66211.




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Code, and that the employment of Dentons US is necessary and in the best interests of the Debtors

and the Debtors’ estates; and this Court having jurisdiction over this matter under 28 U.S.C. §§

157 and 1334 and the Amended Standing Order of Reference from the United States District Court

for the District of Delaware, dated February 29, 2012; and this Court having found that this is a

core proceeding pursuant to 28 U.S.C. § 157(b)(2), and that this Court may enter a final order

consistent with Article III of the United States Constitution; and this Court having found that venue

of this proceeding and the Application in this district is proper pursuant to 28 U.S.C. §§ 1408 and

1409; and this Court having found that the Debtors’ notice of the Application and opportunity for

a hearing on the Application were appropriate and no other notice need be provided; and this Court

having reviewed the Application; and after due deliberation and good and sufficient cause

appearing; it is hereby:

         ORDERED that the Application is GRANTED; and it is further

         ORDERED that, pursuant to section 327(a) of the Bankruptcy Code, the Debtors are

authorized to employ and retain the Firm as counsel, effective as of the Petition Date, on the terms

set forth in the Application, the Statement, the Maizel Declaration, and the Sturgeon Declaration;

and it is further

         ORDERED that the Firm shall apply for compensation for professional services rendered

and reimbursement of expenses incurred in connection with the Debtors’ chapter 11 cases in

compliance with sections 330 and 331 of the Bankruptcy Code and applicable provisions of the

Bankruptcy Rules, Local Bankruptcy Rules, and any other applicable procedures and orders of the

Court.




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        ORDERED that Dentons US shall use its reasonable efforts and coordinate with the

Debtors and their other professionals to avoid the duplication of services provided by other

professionals retained by the Debtors in these chapter 11 cases; and it is further

        ORDERED that to the extent that there may be any inconsistency between the terms of the

Application, the Maizel Declaration, the Sturgeon Declaration, the Engagement Agreement and

this Order, the terms of this Order shall govern; and it is further

        ORDERED that the Debtors and Dentons US are authorized to take such other action as is

reasonably necessary to comply with all of the duties set forth in the Application and this Order;

and it is further

        ORDERED that the Court shall retain jurisdiction over any and all matters arising from or

related to the implementation, interpretation, and/or enforcement of this Order; and it is further

        ORDERED that, notwithstanding any provision in the Bankruptcy Rules to the contrary,

this Order shall be immediately effective and enforceable upon its entry.




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